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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

BOBACK SABEERIN, MICHELLE ROYBAL,
J.R., S.S.,

               Plaintiffs,
v.                                                              1:16-cv-00497-JCH-LF

ALBUQUERQUE POLICE DEPARTMENT
DETECTIVE TIM FASSLER, in his individual
capacity, ALBUQUERQUE POLICE
DEPARTMENT, DETECTIVE JOHN DEER, in his
individual capacity, CITY OF ALBUQUERQUE,
SECRETARY GREG MARCANTEL, in his official
and individual capacity, NEW MEXICO
CORRECTIONS DEPARTMENT,

               Defendants.

               ORDER SETTING TELEPHONIC STATUS CONFERENCE

       IT IS HEREBY ORDERED that a status conference will be held by telephone on Friday,

October 26, 2018, at 2:30 p.m. Counsel shall call my “meet-me” conference line at 505-348-

2367 to be joined to the proceedings.



                                                  _________________________
                                                  Laura Fashing
                                                  United States Magistrate Judge
